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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 Michigan Republican Party, Laura
 Cox, Terri Lynn Land, Savina             Case No: 1:19-CV-00669-JTN-ESC
 Alexandra Zoe Mucci, Dorian
 Thompson, Hank Vaupel,                   Honorable Janet T. Neff
                                          Magistrate Judge Ellen S. Carmody
              Plaintiffs,
 v.

 Jocelyn Benson, in her official
 capacity as Secretary of State,

              Defendant,

 v.

 Count MI Vote, d/b/a Voters Not
 Politicians,

              Intervenor-Defendant.


             STIPULATED ORDER FOR THE SUBSTITUTION
                     OF PLAINTIFFS’ COUNSEL

      Upon the stipulation of counsel as evidenced on the following page, and the

Court being otherwise fully advised of the premises:

      IT IS HEREBY ORDERED that Charles R. Spies (P83260) and Robert L.

Avers (P75396) of Dickinson Wright PLLC are substituted in the place of Brian D.

Shekell (P75327) of Clark Hill PLC as attorneys of record for Plaintiffs.



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       IT IS SO ORDERED.



Dated: ___________________                       __________________________
                                                 U.S. District Court Judge



So stipulated and agreed.


Date: September 25, 2019

 By: /s/ Brian D. Shekell (w/permission)       By: /s/ Robert L. Avers
 Brian D. Shekell (P75327)                     Robert L. Avers (P75396)
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                                               /s/ Charles R. Spies
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